Case 5:23-cv-00913-J Document 14-18 Filed 12/29/23 Page 1 of 10




                                                          EXHIBIT 18
Case 5:23-cv-00913-J Document 14-18 Filed 12/29/23 Page 2 of 10
Case 5:23-cv-00913-J Document 14-18 Filed 12/29/23 Page 3 of 10
Case 5:23-cv-00913-J Document 14-18 Filed 12/29/23 Page 4 of 10
Case 5:23-cv-00913-J Document 14-18 Filed 12/29/23 Page 5 of 10
Case 5:23-cv-00913-J Document 14-18 Filed 12/29/23 Page 6 of 10
Case 5:23-cv-00913-J Document 14-18 Filed 12/29/23 Page 7 of 10
Case 5:23-cv-00913-J Document 14-18 Filed 12/29/23 Page 8 of 10
Case 5:23-cv-00913-J Document 14-18 Filed 12/29/23 Page 9 of 10
Case 5:23-cv-00913-J Document 14-18 Filed 12/29/23 Page 10 of 10
